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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            ATHENS DIVISION

BARBARA L. JARVIS,                        *

      Plaintiff,                          *

vs.                                       *
                                                      CASE NO. 3:22-CV-71 (CDL)
ALLSTATE PROPERTY & CASUALTY              *
INSURANCE COMPANY,
                                          *
      Defendant.
                                          *

                                    O R D E R

      The Court previously granted Plaintiff’s motion to remand.

Order, Oct. 6, 2022, ECF No. 10.                The Court found that Defendant

should be required to pay “just costs and any actual expenses,

including attorney fees, incurred as a result of the removal” under

28 U.S.C. § 1447(c), and it instructed Plaintiff to file a motion

for those costs and expenses.                 Id. at 5.      Plaintiff filed the

motion, along with evidence supporting the amount sought.                         Mot.

Att’y Fees, ECF No. 13.           Defendant did not respond.              The Court

reviewed    Plaintiff’s      evidence    of    reasonable    attorney’s    fees    and

awards    Plaintiff    attorney’s       fees    in   the    amount   of   $3,655.00.

Defendant    shall    make   payment    through      Plaintiff’s     counsel   within

fourteen days of today’s order.

      IT IS SO ORDERED, this 29th day of November, 2022.

                                               S/Clay D. Land
                                               CLAY D. LAND
                                               U.S. DISTRICT COURT JUDGE
                                               MIDDLE DISTRICT OF GEORGIA
